 Case 4:19-cv-04029-KES Document 4 Filed 04/02/19 Page 1 of 2 PageID #: 65




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DMSION


UNITED STATES OF AMERICA,                                     Civ. No. 19-4029- KES

       Plaintiff,

V.
                                                            ADMISSION OF SERVICE
WALLACE TANG, Individually, and
d/b/a BLUE SKY ENGINEERING,
INC., CASSINDY SINE CHAO,
Individually, and d/b/a LASERLITH
CORP.; and GINA KIM, Individually,
and d/b/a BLACK HILLS
NANOSYSTEMS CORP.,

       Defendants.


                                            NOTICE

TO:    DEFENDANTS above named :

       The enclosed Summons and Complaint are served pursuant to Rule 4(i)(l )(A) of the

Fed. R. Civ. P. and S.D.C.L. § 15-6-4.

       You must complete the acknowledgment part of this form and return one copy of the

completed form to the sender within 60 days.

       You must sign and date the admission. If you are served on behalf of a corporation,

unincorporated association (including a partnership), or other entity, you must indicate under

your signature your relationship to that entity. If you are served on behalf of another person and

you are authorized to receive process, you must indicate under your signature your authority.
.:
      Case 4:19-cv-04029-KES Document 4 Filed 04/02/19 Page 2 of 2 PageID #: 66




            If you do not complete and return the form to the sender within 60 days, you (or the party

     on whose behalf you are being served) may be required to pay any expenses incurred in serving a

     Summons and Complaint in any other manner permitted by law.

            If you do complete and return this form, you (or the party on whose behalf you are being

     served) must answer the Complaint within 60 days. If you fail to do so, judgment by default will

     be taken against you for the relief demanded in the Complaint.

            I hereby certify that this Notice and Admission of Service was mailed via US mail on

     February 8, 2019, and emailed on February 13 , 2019.

                                                 RONALD A. PARSONS, JR.
                                                 United States Attorney

                                                  ~,,I~
                                                 CHERYLSCHREMPPDUPRIS
                                                 Assistant U.S . Attorney
                                                 P.O. Box 7240
                                                 Pierre, SD 57501
                                                 (605) 224-5402
                                                 Cheryl. dupris@usdoj.gov

                                                  Attorney for Plaintiff
                                                  United States of America


                  ADMISSION OF SERVICE OF SUMMONS AND COMPLAINT

             Personal service of the enclosed Summons and Complaint is hereby admitted by
     receipt of copies thereof at Gibson, Dunn & Crutcher, via Email             th· 3thday of
                 February , 2019.




                                                  Relationship to En i
                                                  Authority to Receive Service of Process


                                                  Date of Signature _0.:.-2...c.../2_6_/2_0_1_9_ _ _ __
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